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                 EXHIBIT F
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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

DARCY ROAKE, et al.,

                             PLAINTIFFS,

v.                                         Civil Action No. 3:24-cv-517

CADE BRUMLEY, et al.,                      Judge: JWD - SDJ

                            DEFENDANTS.


                      DECLARATION OF STEPHEN LINK

      Pursuant to 28 U.S.C. § 1746, I, Stephen Link, duly affirm under penalty of

perjury as follows:

      1.     I am over 18 years of age, have personal knowledge of the matters set

forth herein, and am competent to make this Declaration.

      2.     My name is Stephen Link. I am the President of the Livingston Parish

School Board. Before serving on the Board, I spent thirty years in the classroom

as a teacher or administrator.

      3.     I understand that the Louisiana Legislature passed into law H.B. 71,

which requires each public school governing authority to display the Ten

Commandments in each classroom because of the prominent role of that text in

the history of American public schools as evidenced by the copies of McGuffey

Readers and the textbooks of Noah Webster, widely used in schools for three

centuries.

      4.     I understand that H.B. 71 requires schools to display, alongside the

Ten Commandments, a context statement explaining the history of the Ten
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Commandments in American public schools and that H.B. 71 permits the

accompanying display of other prominent historical documents, including but not

limited to the Mayflower Compact, the Declaration of Independence, and the

Northwest Ordinance.

      5.     I understand that H.B. 71 proscribes public school governing

authorities from having to spend their funds to purchase displays, so the

authorities can accept donated funds to purchase displays or accept donated

displays.

      6.     I understand that H.B. 71 requires that (a) the State Board of

Elementary and Secondary Education (BESE) adopt rules and regulations that

will govern the proper implementation of the law and (b) the Department of

Education (DOE) identify appropriate resources to comply with the law that are

free of charge and list those resources on its website.

      7.     I understand that public school governing authorities must comply

with the law in 149 days from now—by January 1, 2025—and that the Board is a

public school governing authority under the law.

      8.     There is no H.B. 71 display on any classroom wall in any school under

the Board’s jurisdiction.

      9.     The Board has not accepted any donated funds or accepted any

donated displays under H.B. 71.

      10.    Neither the Board nor its staff has taken any steps to implement

H.B. 71. The Board has not reviewed or considered any particular H.B. 71 display.



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       11. BESE has not adopted any rules or regulations governing the proper
implementation of H.B. 71.

       L2. The DOE has not identified on its website any resources to comply with
H.B. 71.

       13. Though the Board does not yet know how it will implement H.B. 71, the
Board will not likely consider planning to post any H.B. 71 display that is a stand-

alone copy of the Ten Commandments.

       14. Instead, given the Ten Commandment's rich cultural and legal influence
and history in Louisiana, throughout the United States, and across the globe, the

Board will likely prioritize the consideration of displays that preeminently celebrate

that history. The Board will also consider allowing different classrooms to post
different versions of the display.

      I declare, under penalty of perjury, that the foregoing is true and correct.




Executed on: August 5,2024             Stephen Link




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